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                                                                FILED: February 6, 2023

                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                     ___________________

                                          No. 23-1059
                                        (10-CC-276241)
                                        (10-CE-271046)
                                        (10-CE-271053)
                                        (10-CC-276207)
                                        (10-CE-276221)
                                        (10-CC-276208)
                                        (10-CE-271047)
                                        (10-CE-271052)
                                        (10-CE-276185)
                                     ___________________

        SOUTH CAROLINA STATE PORTS AUTHORITY

                     Petitioner

        THE STATE OF SOUTH CAROLINA; INTERNATIONAL
        LONGSHOREMEN'S ASSOCIATION, LOCAL 1422

                     Intervenors

        v.

        NATIONAL LABOR RELATIONS BOARD

                     Respondent

                                     ___________________

                                          ORDER
                                     ___________________

              Upon consideration of submissions relative to the motion to accelerate case
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        processing, the court denies the motion without prejudice to the refiling of the

        motion after the time for intervention under Rule 15(d) of the Federal Rules of

        Appellate Procedure has elapsed.

                                               For the Court--By Direction

                                               /s/ Patricia S. Connor, Clerk
